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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                               AT OWENSBORO
______________________________________________________________________________

WILLIAM JACOB CULBERTSON,                            CASE NO. 4:21-CV-71-JHM
          Plaintiff,
                                                     ELECTRONICALLY FILED
         vs.
                                                     Senior Judge Joseph H. McKinley, Jr.
EQUIFAX INFORMATION SERVICES, LLC;                   Magistrate Judge
GLA COLLECTION CO., INC.; RESURGENT
CAPITAL SERVICES, L.P.; RESURGENT
RECEIVABLES, LLC; STERLING, INC.
d/b/a JARED-THE GALLERIA OF
JEWELRY; and TRANS UNION, LLC;
             Defendants.
______________________________________________________________________________

                 TRANS UNION, LLC’S NOTICE OF REMOVAL
______________________________________________________________________________

         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

Union”) hereby removes the subject action from the Commonwealth Of Kentucky, Ohio Circuit

Court to the United States District Court for the Western District of Kentucky, Owensboro

Division on the following grounds:

         1.    Plaintiff, William Jacob Culbertson served Trans Union on or about June 29,

2021, with a Civil Summons and Complaint filed in the Commonwealth Of Kentucky, Ohio

Circuit Court. Copies of the Civil Summons, Civil Case Cover Sheet and Complaint, redacted

pursuant to Federal Rule of Civil Procedure 5.2, are attached hereto as Exhibit A, Exhibit B and

Exhibit C, respectively. No other process, pleadings or orders have been served on Trans

Union.

         2.    Plaintiff makes claims under, alleges that Trans Union violated and alleges that

Trans Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the

“FCRA”). See &RPSODLQW၁၁ 1, 46-47, 56, 58, 85-88.


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       3.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

§ 1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

supplies this federal question.

       4.      Pursuant to 28 U.S.C. § 1441 et seq., this cause may be removed from the

Commonwealth Of Kentucky, Ohio Circuit Court, to the United States District Court for the

Western District of Kentucky, Owensboro Division.

       5.      As of the date of this Notice Of Removal, Defendants Equifax Information

Services, LLC (“Equifax”), GLA Collection Co., Inc. (“GLA”), Resurgent Capital Services, L.P.

(“Resurgent Capital”), Resurgent Receivables, LLC (“Resurgent Receivables”) and Sterling, Inc.

d/b/a Jared – The Galleria Of Jewelry (“Jared”) have been served. Counsel for Trans Union has

contacted counsel and/or corporate representatives for the Defendants Equifax, GLA, Resurgent

Capital and Resurgent Receivables who have consented to this removal as evidenced by the

consents attached hereto as Exhibit D, Exhibit E, Exhibit F and Exhibit G, respectively. 1

       6.      Notice of this removal will promptly be filed with the Commonwealth Of

Kentucky, Ohio Circuit Court, and served upon all adverse parties.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action

from the Commonwealth Of Kentucky, Ohio Circuit Court, to this United States District Court,

Western District of Kentucky, Owensboro Division.




1
  Counsel for Trans Union has been unsuccessful identifying and contacting Counsel for
Defendant Sterling Inc. d/b/a Jared-The Galleria of Jewelry. Counsel for Trans Union will
subsequently update the Court regarding an objection or consent as to the remaining Defendant.


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                                            Respectfully submitted,



                                            /s/ Sandra Davis Jansen
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                                            Counsel for Defendant Trans Union, LLC




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 14th day of July, 2021. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s electronic filing.

None

       The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, and/or e-mail, on the 14th day of

July, 2021, properly addressed as follows:

for Plaintiff William Jacob Culbertson
James H. Lawson, Esq.
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                                                       /s/ Sandra Davis Jansen
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                                                       Counsel for Defendant Trans Union, LLC




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